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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

   UNITED STATES OF AMERICA,                              )
                                                          )
                      Plaintiff,                          )
                                                          )        C.A. No. 20-1744-CFC-EGT
   v.                                                     )
                                                          )
   WALMART INC. AND WAL-MART                              )
   STORES EAST, LP,                                       )
                                                          )
                      Defendants.                         )

         MOTION FOR TELECONFERENCE TO RESOLVE DISCOVERY DISPUTE

           Defendants Walmart Inc. and Wal-Mart Stores East, LP (collectively, “Walmart”)

  respectfully move this Court to schedule a hearing to address outstanding disputes regarding

  the following discovery matters:

           1.        Walmart’s request that the United States fully respond to Interrogatory No. 1 and
                     Request for Production No. 6 by identifying now each prescription that forms the
                     basis of each of the United States’ claims for civil penalties under 21 C.F.R.
                     §1306.04, as opposed to (a) waiting until expert discovery to identify those
                     prescriptions and (b) going beyond the claims pled to add more prescriptions during
                     expert discovery.

           2.        Walmart’s request that the United States produce documents responsive to Request
                     for Production No. 5 relating to any investigation, enforcement, or disciplinary
                     action concerning the prescribers who wrote the prescriptions for which the United
                     States is seeking civil penalties, regardless of the United States’ intent to present
                     evidence about those prescribers to support its claims.

           3.        Walmart’s request that the United States produce documents from select federal
                     agencies that are likely to have information responsive to Walmart’s Requests for
                     Production, instead of the United States’ contention that these federal agencies are
                     not subject to party discovery in this litigation.

           The following attorneys, including at least one Delaware Counsel and at least one Lead

  Counsel per party, participated in a verbal meet-and-confer by telephone on the following dates:

  July 11 (60 minutes) and July 22 (30 minutes).



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  Plaintiff’s Counsel:

            Delaware Counsel:     Dylan Steinberg

            Lead Counsel:         Katherine Ho, Kim Stephens, and Kate Brunson

  Defendants; Counsel:

            Delaware Counsel:     Kelly Farnan

            Lead Counsel:         Jason Varnado, Billy Laxton, James Carlson, and Andrew Junker

            The parties are available for a teleconference on the following dates: September 17,

  September 18 (after 1:00 pm), or September 19.

            The parties had previously agreed to request 1,500 words for any letter briefing on these

  disputes. To the extent the Court prefers to use a page limit, the parties request permission to

  submit 4-page letters in 12-point font.

            This dispute is the first1 time that a discovery or protective order dispute has been brought

  before the Court.


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    Prior to the Scheduling Order being entered, the parties had a conference with the Court regarding
  the Government’s access to materials produced in other litigation. D.I. 66, 67, 69.
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   Dated: August 27, 2024




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